Filed 8/27/24 Khan v. State of California CA5




                  NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.




               IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                       FIFTH APPELLATE DISTRICT

 MOBARZA KHAN,
                                                                                             F083096
           Plaintiff and Appellant,
                                                                            (Super. Ct. No. BCV-20-102645)
                    v.

 STATE OF CALIFORNIA,                                                                     OPINION
           Defendant and Respondent.



          APPEAL from a judgment of the Superior Court of Kern County. David R.
Lampe, Judge.
          Mobarza Khan, in pro. per., for Plaintiff and Appellant.
          Rob Bonta, Attorney General, Jodi L. Cleesattle, Catherine Woodbridge, and
Andrew F. Adams, Deputy Attorneys General, for Defendant and Respondent.
                                                        -ooOoo-
          Plaintiff and appellant Mobarza Khan sued respondent and defendant State of
California, but apparently failed to properly comply with the government claims
requirements imposed by statute. The court sustained a demurrer on that ground, and we
affirm.
                                             FACTS
          In an amended complaint filed March 12, 2021, plaintiff sued defendant, checking
the boxes on Judicial Council Form PLD-PI-001 indicating she was asserting claims for
general negligence, and intentional tort. She also wrote that she had causes of action for
“gross breach of duty, undue influence &amp; conflict of interest, right to life, false
imprisonment and isolation, assault and battery, intentional affliction [sic] of emotional
distress, invasion of privacy, [and] violation of civil rights.” The complaint did not have
substantive allegations to support these claims, though it does mention that plaintiff
“fear[s]” for her life “from Kamala Harris and her allies like Nancy….” The complaint
acknowledge that plaintiff was required to comply with a claims statute and alleges she
did so.
          On April 12, 2021, defendant filed a demurrer on the grounds that plaintiff had
failed to file a government claim before initiating the civil lawsuit. Defendant sought and
obtained judicial notice of a government claim filed by plaintiff, and a responsive letter
from the Department of General Services (DGS) dated November 18, 2020. The letter
from DGS notified plaintiff that her claim was not accompanied by the requisite $25 fee
(or a fee waiver request).
          In her opposition, plaintiff claimed she paid the fee and accused the state
government of “manipulat[ing] facts to protect Office of AG and Kamala’s allies.”
Plaintiff claimed she refiled the government claim form with the $25 fee dated March 12,
2021.
          On May 17, 2021, the court sustained the demurrer without leave to amend on the
grounds plaintiff failed to comply with the government claims requirements. Plaintiff
appeals.
                                         DISCUSSION
          “ ‘ “The purpose of a demurrer is to test the sufficiency of a complaint by raising
questions of law.” ’ [Citation.] ‘We review an order sustaining a demurrer de novo,

                                                2.
exercising our independent judgment as to whether a cause of action has been stated as a
matter of law.’ [Citation.] In doing so, ‘ “[w]e assume the truth of the properly pleaded
factual allegations, [and] facts that reasonably can be inferred from those expressly
pleaded.” [Citation.] But we do not assume the truth of “contentions, deductions, or
conclusions of law.” [Citation.] We liberally construe the complaint “with a view to
substantial justice between the parties,” drawing “all reasonable inferences in favor of the
asserted claims.” ’ [Citation.] ‘To survive a demurrer, the complaint need only allege
facts sufficient to state a cause of action.’ [Citation.] ‘[B]ecause we are reviewing the
trial court’s ruling and not its reasoning, we may affirm on any ground supported by the
record regardless of whether the trial court relied upon it.’ [Citation.]
       “ ‘When a demurrer is sustained without leave to amend, “we decide whether there
is a reasonable possibility that the defect can be cured by amendment: if it can be, the
trial court has abused its discretion and we reverse; if not, there has been no abuse of
discretion and we affirm.” [Citation.] Plaintiff has the burden to show a reasonable
possibility the complaint can be amended to state a cause of action.’ [Citation.] ‘Where,
however, amendment could not correct a deficiency in the complaint or where the action
is barred as a matter of law, the demurrer is properly sustained without leave to amend.’
[Citation.] ‘The issue of leave to amend is always open on appeal, even if not raised by
the plaintiff.’ ” (Beverage v. Apple, Inc. (2024) 101 Cal.App.5th 736, 746–747.)
       “ ‘[F]ailure to timely present a claim for money or damages to a public entity bars
a plaintiff from filing a lawsuit against that entity.’ ” (City of Stockton v. Superior Court
(2007) 42 Cal.4th 730, 738.) A government claim must generally be accompanied by a
$25 fee (Gov. Code, § 905.2, subd. (c)) or a fee waiver request (id. at § 905.2,
subd. (c)(3)). Generally, failing to present a written claim to the public entity precludes a
lawsuit for money or damages. (Id. at § 954.4.)




                                              3.
       Here, the court took judicial notice of documents reflecting that plaintiff did not
comply with the fee requirement. Consequently, it sustained the demurrer without leave
to amend. We see no error.
       Plaintiff claims she did pay the requisite fee. In support of her assertion, she cites
to what appears to be a bank record. The document shows check No. 1096 and check
No. 1099, but not check numbers 1097 or 1098. Plaintiff claims this shows she sent two
checks to DGS. However, it shows nothing of the sort. The document is completely
silent as to check numbers 1097 and 1098. It proves nothing and supports no relevant
inferences. She claims DGS “purposely did not cash the check,” apparently as part of
California’s “deep corruption” as well as “undue influence” being exerted by the Attorney
General. These claims are not supported by citations to the record.
       Plaintiff also asserts she re-sent the $25 fee, apparently in March 2021. This
assertion is also unaccompanied by record citations. Even if it had been properly
supported, it would not aid in plaintiff’s situation because it would not be timely vis-à-vis
the civil lawsuit.
       Plaintiff’s brief contains various other factual summaries and allegations without
citation to the record and without any apparent relevance to the issues on appeal. We do
not address them further.
                                      DISPOSITION
       The judgment is affirmed. Costs shall be awarded to respondent.




                                              4.
                   POOCHIGIAN, J.
WE CONCUR:



HILL, P. J.



FRANSON, J.




              5.
